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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER

Sebastian Xoss et al. 3-12-CV-01400-PSG-RZ,

Plaintiff(s)

County of Los Angeles et al. MEDIATION REPORT

Defendant(s).

Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation
session even if the negotiations continue. If the case later settles with the assistance of the mediator,
the mediator must file a subsequent Report.

ft. A mediation was held on (date): JUNE 25, 2014

| A mediation did not take place because the case settled before the session occurred.

2. The individual parties and their respective trial counsel, designated corporate representatives, and/or
representatives of the party's insurer:

Appeared as required by Civil L.R. 16-15.5(b).

|_| Did not appear as required by Civil L.R. 16-15.5(b).
_] Plaintiff or plaintiffs representative failed to appear.
[_] Defendant or defendant's representative failed to appear.
[ ] Other:

Bs Did the case settle?
L] Yes, fully, on (date).
L_] Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)

Yes, partially, and further facilitated discussions are not expected. *
L_] No, and further facilitated discussions are expected. (See No. 4 below.)

L] No, and further facilitated discussions are not expected.

4, If further facilitated discussions are expected, by what date will you check in with the parties?

Yu ZL Rlack.

Signature of Mediator

Dated: October 23, 2014

* Partial settlement occurred after the 2nd mediation < Weal

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session. Additional discussions are ongoing among
the remaining parties. The mediator is available if needed. Name of Mediator (print)

The Mediator is to electronically file original document.

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